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                  EXHIBIT A
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                     IN THE COUNTY COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
                             IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
                                       SMALL CLAIMS DIVISION

             Ricardo Brown Sr.,

                    Plaintiff,                                  Case No:       ____________________

                    v.

             Equifax Information Services, LLC,
                                                                          JURY TRIAL DEMANDED
                    Defendant.

                                  COMPLAINT AND DEMAND FOR JURY TRIAL

                    COMES NOW the Plaintiff, Ricardo Brown Sr., (“Mr. Brown”), by and through his

             attorneys, Seraph Legal, P.A., and complains of the Defendant, Equifax Information Services,

             LLC (“Equifax”), stating as follows:

                                            PRELIMINARY STATEMENT

                    1.      This is an action for damages not to exceed $8,000, exclusive of attorney’s fees and

             costs, brought by Mr. Brown against Equifax for violations of the Fair Credit Reporting Act, 15

             U.S.C. § 1681, et. seq. (“FCRA”).

                                             JURISDICTION AND VENUE

                    2.      Jurisdiction arises under the FCRA, 15 U.S.C. § 1681p and Section 34.01, Florida

             Statutes.

                    3.      Equifax is subject to the provisions of the FCRA and is subject to the jurisdiction

             of the Court pursuant to Section 48.193, Florida Statutes.

                    4.      Venue is proper in Hillsborough County, Florida, pursuant to Section 47.051

             Florida Statutes, because the acts complained of were committed and / or caused by the Defendant

             within Hillsborough County.



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                                                         PARTIES

                    5.      Mr. Brown is a natural person residing in Tampa, Hillsborough County, Florida.

                    6.      Mr. Brown is a Consumer as defined by 15 U.S.C. § 1681a(c).

                    7.      Equifax is a Georgia corporation, with a primary business address of 1550

             Peachtree Street NW, Atlanta, GA 30309.

                    8.      Equifax is registered to conduct business as a foreign corporation in the State of

             Florida, where its Registered Agent is Corporation Service Company, 1201 Hays Street,

             Tallahassee, FL 32301.

                    9.      Equifax is a nationwide Consumer Reporting Agency (“CRA”) within the meaning

             of 15 U.S.C. § 1681a(f), in that, for monetary fees, dues, and/or on a cooperative nonprofit basis,

             it regularly engages in whole or in part in the practice of assembling or evaluating consumer credit

             information or other information on consumers for the purpose of furnishing consumer reports to

             third parties, and which uses means or facilities of interstate commerce for the purpose of preparing

             or furnishing consumer reports, specifically the mail and internet. As a CRA, Equifax is aware of

             its obligations under the FCRA.

                                               FACTUAL ALLEGATIONS

                                   Mr. Brown’s December 2023 Consumer Disclosure

                    10.     On or about December 29, 2023, Mr. Brown requested a copy of his consumer

             credit disclosure from Equifax.

                    11.     Pursuant to 15 U.S.C. § 1681g(a), upon receipt of Mr. Brown’s request, Equifax

             was required to “clearly and accurately” disclose all information in Mr. Brown’s file at the time of

             his request, with the limited exception that his Social Security number could be truncated upon

             request.




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                     12.    Equifax provided an electronic copy of Mr. Brown’s Consumer Disclosure

             (“Equifax’s Disclosure”) to him at his home address in Tampa, Florida.

                              Equifax’s Disclosure Was Not Complete, Clear, or Accurate

                                                Missing Original Creditors

                     13.    Despite a requirement to disclose all information in his credit file at the time of his

             request, Equifax’s Disclosure omitted significant amounts of information contained in his credit

             file.

                     14.    Equifax’s Disclosure indicated that Mr. Brown’s credit file contained six (6)

             accounts classified as “Other.” SEE PLAINTIFF’S EXHIBIT A.

                     15.    Equifax’s Disclosure stated: “Other accounts are those that are not already

             identified as Revolving, Mortgage, or Installment Accounts such as child support obligations or

             rental agreements.” Id.

                     16.    The accounts appearing in the “Other” section were reported by Trident Asset

             Management, LLC (“Tident”), LVNV Funding, LLC (“LVNV”), Midland Credit Management

             (“MCM”), and Child Support (“Child Support”).

                     17.    Trident, LVNV, and MCM are Debt Buyers – companies whose primary purposes

             are the purchase and collection of debts which were originally owed to third parties.

                     18.    As Trident, LVNV, and MCM do not lend to consumers, they are never an Original

             Creditor.

                     19.    Despite this, when disclosing the Trident, LVNV, and MCM tradelines to

             Mr. Brown, Equifax indicated that Trident, LVNV, and MCM were the Original Creditors of the

             accounts, omitting any reference to the Original Creditor.




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                        20.   Despite being required to provide a full and complete disclosure of the information

             contained within its records, per 15 U.S.C. § 1681g(a), under the “Account Details” section of the

             account, Equifax placed a notation, “Contact the creditor or lender if you have any questions about

             it.” Id.

                        21.   Equifax thus shifted the burden of disclosure and inquiry away from itself, and onto

             Mr. Brown.

                                                  Missing Account Numbers

                        22.   Making matters even more confusing for Mr. Brown, Equifax omitted the full

             account numbers relating to the Trident, LVNV, MCM and Child Support tradelines.

                        23.   On information and belief, each of these data furnishers reported the full account

             numbers belonging to their respective accounts to Equifax, and this information was contained

             within Equifax’s file regarding Mr. Brown at the time of his request.

                        24.   When Equifax produces and sells reports regarding Mr. Brown to third parties, the

             full account numbers and name of the original creditors are included in its reports.

                        25.   The accuracy of Equifax’s reports to third parties demonstrates its ability to comply

             with 15 U.S.C. § 1681g(a) as well as the contents of its files.

                        26.   Having a duty to disclose all of the information regarding the accounts in

             Mr. Brown’s file, Equifax breached its duty by failing to provide the account numbers and original

             creditors’ name, as such information is necessary for a consumer to be able to research and evaluate

             the information contained in his credit file.

                        27.   Absent such information, a consumer is reduced to, at best, playing detective and,

             at worst, guessing as to whether the information in their report is accurate.




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                    28.     Equifax’s disclosure contains a section entitled “Collections,” stating: “Collections

             are accounts with outstanding debt that have been placed by a creditor with a collection agency.

             Collections stay on your credit report for up to 7 years from the date the account first became past

             due. They generally have a negative impact on your credit score.”

                    29.     Trident, LVNV, and MCM are registered with the Florida Office of Financial

             Regulation as Consumer Collection Agencies.

                    30.     Thus, Equifax should have placed these tradelines under the “Collections” header

             of Mr. Brown’s Disclosure rather than the “Other” header.

                    31.     In addition to missing the full account numbers from the “Other Accounts,” Equifax

             disclosed a significant number of accounts reported by other data furnishers without full account

             numbers.

                    32.     Under the heading Revolving Accounts, there are two (2) tradelines without full

             account numbers.

                    33.     Under the heading Installment Accounts, there is a tradeline without full account

             number.

                    34.     On information and belief, all the aforementioned data furnishers reported full

             account numbers to Equifax, and this information was contained within Equifax’s file on

             Mr. Brown at the time of his request for his consumer disclosure.

                    35.     Due to widespread systemic problems, Equifax’s automated systems omits all but

             the last two or four account numbers reported by data furnishers that have a reported current

             payment status of “charge off,” in addition to many other types of accounts.

                    36.     Equifax knows of this error but, despite such knowledge, has yet to correct it.




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                    37.     The failure to disclose full account numbers violates the FCRA’s requirement that

             a CRA disclose all information contained in a consumer’s credit file clearly and accurately. See

             Washington v. Equifax, Case No. 3:19-cv-00154 (M.D. Tenn. Jun. 12, 2019) (“The plain language

             of the FCRA requires that the consumer reporting agency shall clearly and accurately disclose to

             the consumer ‘[a]ll information in the consumer's file at the time of the request.’ 15 U.S.C. §

             1681g. In the absence of binding authority stating that a truncated account number is a clear and

             accurate disclosure, the Court finds that Plaintiff has stated a plausible claim for a violation of

             Section 609 of the FCRA.”)

                    38.     The failure of an entity to provide accurate and truthful information as required by

             law creates an injury-in-fact, thus creating standing pursuant to Article III. See, e.g., Havens Realty

             Corp. v. Coleman, 455 U.S. 363 (1982), holding “alleged injury to (plaintiff’s) statutorily created

             right to truthful housing information” was a cognizable injury in and of itself, regardless of whether

             the plaintiff actually hoped to reside in the defendant's housing complex; therefore “the Art. III

             requirement of injury in fact [was] satisfied.

                    39.     The lack of accurate, full account numbers caused Mr. Brown great frustration and

             emotional distress when trying to understand his credit report and verify it against his own records.

                    40.     Further, pursuant to a 2000 FTC Opinion Letter (Advisory Opinion to Darcy, June

             30, 2000), “it is our view that a CRA that always scrambles or truncates account (or social security)

             numbers does not technically comply with Section 609 because it does not provide 'accurate' (and

             perhaps not ‘clear’) disclosure of ‘all information’ in the file.” SEE PLAINTIFF’S EXHIBIT B.

                    41.     Equifax’s omission of the original creditor and full account numbers greatly

             decreases a consumer’s ability to understand his consumer credit disclosure, identify the accounts,

             and compare those accounts with his own records.




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                    42.      The Credit Reporting Resource Guide, published by the Consumer Data Industry

             Association (“CDIA”), a trade association representing the CRAs, including Equifax, states that:

                             “The purpose of reporting the original creditor name is to help
                             consumers identify the source of accounts when they appear on credit
                             reports. Without the original creditor names, consumers may not know
                             what the accounts represent.” (Emphasis original.)

             SEE PLAINTIFF’S EXHIBIT C.

                    43.      The Credit Reporting Resource Guide instructs debt collectors to “(r)eport the name

             of the company/creditor that originally opened the account for the consumer.” Id.

                    44.      On information and belief, Trident, LVNV, and MCM complied with the Credit

             Reporting Resource Guide and reported the names of the true original creditors of their reported

             accounts.

                                       “Undesignated” Account Ownership Issues

                    45.      Equifax’s disclosure to Mr. Brown also contained an account reported by Bank of

             America (“BoA”).

                    46.      The owner of the BoA account was reported by Equifax as “UNDESIGNATED.”

             SEE PLAINTIFF’S EXHIBIT D

                    47.      Upon information and belief, the “owner” header refers to the Equal Credit

             Opportunity Act Code (“ECOA Code”) reported by the data furnisher.

                    48.      The Credit Reporting Resource Guide states that the ECOA Code “defines the

             relationship of the consumer to the account in compliance with the Equal Credit Opportunity Act.”

             SEE PLAINTIFF’S EXHIBIT E.

                    49.      Equifax’s Disclosure erroneously stated that the ECOA code was “0” or

             Undesignated.




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                    50.     BoA could not have reported an ECOA Code of “0,” since that Metro II code was

             retired as obsolete as of September 2003. Id.

                    51.     Further, even prior to September 2003, the code could only have potentially applied

             to an account opened prior to June 1977.

                    52.     The BoA account was opened in July 2019 – more than 42 years after the cut-off

             for accounts bearing this ECOA Code.

                    53.     Equifax’s complete omission of the relevant owner of the accounts would make it

             difficult to compare the information in his records with the information shown on his disclosure.

                    54.     On information and belief, the correct ECOA Code regarding the accounts appears

             in Equifax’s file on Mr. Brown.

                                   Prevalence of Equifax’s Account Number Errors

                    55.     On information and belief, Equifax’s Disclosure to Mr. Brown was generated using

             a template that extracts database information from a consumer’s file and populates it into various

             pre-programmed fields on a consumer disclosure form.

                    56.     On information and belief, this same template is used virtually every time a

             consumer requests their file from Equifax through www.annualcreditreport.com.

                    57.     On information and belief, www.annualcreditreport.com is the location where the

             majority of consumers obtain their Equifax credit disclosure.

                    58.     Consumer disclosures retrieved through annualcreditreport.com all exhibit the

             same missing account number and missing original creditor name errors.

                    59.     Thus, every consumer with accounts appearing in the “Other” section of their

             disclosure who requested their disclosure from Equifax through www.annualcreditreport.com




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             since the template’s use began, received a consumer disclosure with the same errors as

             Mr. Brown.

                    60.     Equifax’s error has therefore likely affected thousands of consumers.

                    61.     Equifax has known of the flaws in its systems for years, but has done nothing to fix

             them, despite the large number of consumers affected. See, e.g., Justin Purdy vs. Equifax

             Information Services LLC, case 8:19-cv-00217, M.D. FL, Jan. 28, 2019.

                    62.     Equifax’s knowing and repeated conduct warrants an award of punitive damages.

                    63.     Equifax’s failure to disclose all of the information in the consumer’s credit file in

             free annual disclosures is an intentional violation of 15 U.S.C. § 1681g(a), motivated by the

             Defendant’s desire to avoid costs and increase profits.

                    64.     Mr. Brown has a right to a full and complete disclosure of the contents of his file

             upon demand, at least once a year and without charge, and that disclosure must be presented clearly

             and accurately. 15 U.S.C. § 1681j.

                    65.     Equifax’s failure to accurately, fully, and clearly disclose the information within its

             files regarding Mr. Brown deprived him of this right.

                    66.     Mr. Brown has hired the undersigned law firm to represent him in this matter and

             has assigned to them his right to obtain reimbursement for his reasonable fees and costs.

                                                     COUNT I
                                              VIOLATIONS OF THE FCRA

                    67.     Mr. Brown adopts and incorporates paragraphs 1 - 66 as if fully stated herein.

                    68.     Equifax violated 15 U.S.C. § 1681g(a)(1) when responding to Mr. Brown’s request

             for his consumer disclosure by failing to clearly and accurately disclose to Mr. Brown, a Consumer,

             all of the information in his file at the time of the request. Specifically, Equifax disclosed four (4)

             accounts reported by Trident, LVNV, and MCM without disclosing the full account numbers or


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             the names of the Original Creditors and five (5) accounts also without the full account numbers,

             even though full account numbers were reported by the data furnishers. Additionally, Equifax

             disclosed an account with an ECOA code of Undesignated.

                    69.        Equifax knowingly provided inaccurate information in Mr. Brown’s disclosure, as

             it knew of these issues, which have been identified and disputed by other consumers for years.

                    70.        Equifax is therefore liable to Mr. Brown, pursuant to 15 U.S.C. § 1681n, for the

             greater of his actual damages and statutory damages of up to $1,000 per violation, plus attorneys’

             fees and costs.

                    71.        Alternatively, Equifax’s conduct was negligent, and Equifax is therefore liable to

             Mr. Brown, pursuant to 15 U.S.C. § 16810, for his actual damages, plus attorneys’ fees and costs.

                    WHEREFORE, Mr. Brown respectfully requests that the Honorable Court enter judgment

             against Equifax for:

                    a.         The greater of statutory damages of $1,000 per incident and Mr. Brown’s actual

                               damages, pursuant to 15 U.S.C. § 1681n(a)(1)(A), or Mr. Brown’s actual damages

                               pursuant to 15 U.S.C. § 1681o(a)(1);

                    b.         Punitive damages pursuant to 15 U.S.C. § 1681n(a)(2);

                    c.         Reasonable costs and attorneys’ fees pursuant to pursuant to 15 U.S.C. §

                               1681n(a)(3) and/or 15 U.S.C. § 1681o(a)(2); and,

                    d.         Such other relief that this Court deems just and proper.




                                                DEMAND FOR JURY TRIAL

                    Mr. Brown demands a jury trial on all issues so triable.




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             Respectfully submitted on February 13, 2024, by:


                                                                SERAPH LEGAL, P. A.

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                                                                Attorneys for Plaintiff



             ATTACHED EXHIBIT LIST
             A.     Mr. Brown’s Equifax Consumer Disclosure, December 29, 2023, Excerpt – Other
                    Accounts.
             B.     FTC Opinion Letter.
             C.     Credit Reporting Resource Guide, Original Creditor Name Excerpt.
             D.     Mr. Brown’s Equifax Consumer Disclosure, December 29, 2023, Excerpt –
                    “Undesignated” Account Ownership
             E.     Credit Reporting Resource Guide, ECOA Codes Excerpt.




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                                             EXHIBIT A
                      Mr. Brown’s Equifax Consumer Disclosure, December 29, 2023
                                 Excerpt – “Other” Account (redacted)




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                                             EXHIBIT A
                      Mr. Brown’s Equifax Consumer Disclosure, December 29, 2023
                                 Excerpt – “Other” Account (redacted)




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                                             EXHIBIT A
                      Mr. Brown’s Equifax Consumer Disclosure, December 29, 2023
                                 Excerpt – “Other” Account (redacted)




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                                             EXHIBIT A
                      Mr. Brown’s Equifax Consumer Disclosure, December 29, 2023
                                 Excerpt – “Other” Account (redacted)




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                                             EXHIBIT A
                      Mr. Brown’s Equifax Consumer Disclosure, December 29, 2023
                                 Excerpt – “Other” Account (redacted)




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                                             EXHIBIT A
                      Mr. Brown’s Equifax Consumer Disclosure, December 29, 2023
                                 Excerpt – “Other” Account (redacted)




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                                                EXHIBIT B
                                              FTC Opinion Letter




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                                              EXHIBIT C
                    Credit Reporting Resource Guide, Original Creditor Name Excerpt




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                                            EXHIBIT D
                      Mr. Brown’ Equifax Consumer Disclosure, December 29, 2023
                                  “Undesignated” Account Ownership




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                                            EXHIBIT E
                     Excerpt from Credit Reporting Resource Guide – ECOA Codes




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